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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
THE NEW YORK TIMES COMPANY,

                   Plaintiff,
                                                               No. 1:23-cv-11195-SHS-OTW
                       v.

MICROSOFT CORPORATION, OPENAI, INC.,
OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
OPENAI OPCO LLC, OPENAI GLOBAL LLC, OAI
CORPORATION, LLC, OPENAI HOLDINGS,
LLC,

                   Defendants.


               DEFENDANTS’ MOTION FOR LEAVE TO FILE UNDER SEAL

       Pursuant to Section IV of this Court’s Individual Practices in Civil Cases, OpenAI

Defendants (“OpenAI”) seek leave to file under seal the following documents:

       ● Limited portions of OpenAI’s concurrently filed response to Plaintiff’s Letter Motion

           to Compel application of additional search terms that reference confidential materials;

       ● Limited portions of Exhibit A to OpenAI’s response to Plaintiff’s Letter Motion to

           Compel, comprising an annotated spreadsheet of search terms requested by Plaintiff

           and OpenAI’s objections to those search terms; and

       ● Limited portions of Exhibit E to OpenAI’s response to Plaintiff’s Letter Motion to

           Compel, comprising the Declaration of Jeff Lewis.

For the reasons stated in OpenAI’s accompanying memorandum of law, which is also submitted

in support of OpenAI’s Response to Plaintiff’s Motion for Leave to File Under Seal (Dkt. No.

227), and articulated in more detail in the supporting declaration, OpenAI respectfully requests

the Court grant its motion for leave to file under seal.




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Dated: August 30, 2024            Respectfully Submitted,

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